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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 15-67V
                                    Filed: February 12, 2016
                                           Unpublished

****************************
J.B.,                                   *
                                        *
                    Petitioner,         *      Damages Decision Based on
                                        *      Stipulation; Influenza;
                                        *      Shoulder Injury (“SIRVA”);
SECRETARY OF HEALTH                     *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                     *
                                        *
                    Respondent.         *
                                        *
****************************
Ronald Thomas Tomasko, JSDC Law Offices, Hershey, PA, for petitioner.
Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On January 23, 2015, Petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered a shoulder injury
related to vaccine administration (“SIRVA”) as a result of her January 30, 2013 influenza
vaccination. Petition at 28-29. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On April 22, 2016, a ruling on entitlement was issued, finding petitioner entitled to
compensation for SIRVA. On February 11, 2016, respondent filed a joint stipulation by
the parties stipulating that petitioner should be awarded $1,500,000.00. Stipulation at ¶
9. Based on the record as a whole, the undersigned finds that petitioner is entitled to an
award as stated in the stipulation.

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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      Pursuant to the terms stated in the attached stipulation, the undersigned
awards petitioner a lump sum payment of $1,500,000.00 in the form of a check
payable to petitioner, J.B. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
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